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 1                            UNITED STATES DISTRICT COURT
 2                                     DISTRICT OF NEVADA
 3
      UNITED STATES OF AMERICA,                     )   2:10-cr-284-RLH-PAL-4
 4                                                  )
                      Plaintiff,                    )
 5                                                  )
                      vs.                           )   ORDER
 6                                                  )
      PATRICIA BASCOM,                              )
 7                                                  )
                      Defendant.                    )
 8                                                  )

 9            On January 22, 2012, the government moved the Court to expedite briefing/shorten the

10    time for briefing the government’s motion in limine [docket #163] to exclude particular evidence

11    of a purported recording of an alleged telephone call between Bascom and her first attorney.

12    Having considered the government’s motion and any response thereto, and for good cause shown,

13    it is

14            HEREBY ORDERED that the government’s motion is GRANTED. It is

15            FURTHER ORDERED that defendant shall file any response to the government’s motion

16    in limine [docket #163] no later than 5 p.m. PST on January 26, 2012. It is

17            FURTHERED ORDERED that the government shall file a reply in support of its motion,

18    if any, no later than 5 p.m. PST on January 31, 2012.
                          23rd day of _________,
              DATED this ______       January 2012.
19

20                                              SO ORDERED.

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23                                              UNITED STATES DISTRICT JUDGE

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